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                                  No. 22-1223

                      In the
         United States Court of Appeals
              for the Third Circuit
                  ___________________________________
                      RALPH “TREY” JOHNSON, ET AL.,
                                              Plaintiffs-Appellees
                              v.
NATIONAL COLLEGIATE ATHLETIC ASSOCIATION, A/K/A THE NCAA, ET AL.,
                                              Defendants-Appellants
                  ___________________________________
                         On appeal by permission from the
                        United States District Court for the
                         Eastern District of Pennsylvania
                            Case No. 2:19-cv-05230-JP
                          Hon. John R. Padova, Presiding
                  ___________________________________

              APPELLANTS’ OPENING BRIEF
                  ___________________________________
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          SACRED HEART UNIVERSITY AND VILLANOVA UNIVERSITY.
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          CORPORATE DISCLOSURE STATEMENT
     Under FED. R. APP. PROC. 26.1 and 3RD CIR. R. 26.1, Appellants

certify that each of them (the National Collegiate Athletic Association,

Cornell University, Fordham University, Lafayette College, Sacred

Heart University and Villanova University) is a 26 U.S.C. § 501(c)(3)

organization. They have no parent corporations, and no publicly held

company owns ten percent (10%) or more interest in any Appellant.


                            By: ________________________
                                COUNSEL FOR APPELLANTS




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                           INTRODUCTION
      Six present and former college student athletes are suing their

schools and the National Collegiate Athletic Association under the Fair

Labor Standards Act and parallel state statutes and common law

remedies to collect wages for playing sport. They allege that all

defendants are their joint employers and seek to certify classes and

collectives on both sides of “v.” in the caption.

      Over 60 years of unbroken state and federal precedents hold that

college student athletes are not employees of their schools simply

because they play sport, culminating in the Seventh Circuit’s ruling in

Berger v. National Collegiate Athletic Ass’n, 843 F.3d 285 (2016), that

“student-athletes are not employees” of the schools they attend “and are

not covered by the FLSA” as a matter of law. Id. at 288.

      This is hardly surprising, as one of the founding purposes of the

NCAA is to keep professional athletes out of college sport. The Ninth

Circuit recently refused under antitrust law to permit college student

athletes to be treated like professionals when it declined to allow them

to receive “unlimited payments unrelated to education, akin to salaries

seen in professional sports leagues.” In re Nat’l Collegiate Athletic Ass’n

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Athletic Grant-in-Aid Cap Antitrust Lit., 958 F.3d 1239, 1258 (9th Cir.

2020) (“GIA Cap Antitrust Lit.”). Last term the Supreme Court affirmed

the Ninth, praising its care in crafting a remedy that “would not blur

the distinction between college and professional sports.” National

Collegiate Athletic Ass’n v. Alston, 141 S.Ct. 2141, 2164 (2021)

(emphasis added).

     Berger—no less than the Ninth Circuit’s antitrust ruling—was

crafted to “not blur the distinction between college and professional

sports.” It remains good law, undisturbed by Alston. It merited “most

respectful consideration” by the district court. Colby v. J.C. Penney Co.,

811 F.2d 1119, 1123 (7th Cir. 1987). It got none. The district court

declined to follow it and dismiss this lawsuit, looking to Justice

Kavanaugh’s solo concurrence in Alston as an indication that a (silent)

majority of the Supreme Court intended to undermine Berger. (See 1

Appellants’ Appendix [“AA”] 14-15.)

     They did not. The Alston majority praised the Ninth Circuit for

respecting the same line drawn by the Seventh in Berger—and by state

courts for more than half a century.




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     This Court should agree with the Seventh, reverse the district

court, and remand with instructions to dismiss this lawsuit.




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                JURISDICTIONAL STATEMENT
     Appellees’ complaint alleges claims for damages under the Fair

Labor Standards Act, 29 U.S.C. § 216(b), which raises a federal question

over which the district court has original jurisdiction under 28 U.S.C.

§ 1331. The complaint also raises state-law statutory and common law

wage claims over which the district court has supplemental jurisdiction

under 28 U.S.C. § 1367(a).

     The district court denied Appellants’ motion to dismiss. (1 AA 4-

34.) It certified that ruling for interlocutory appeal under 28 U.S.C.

§ 1292(b) on December 28, 2021. (1 AA 35-50). Appellants petitioned

this Circuit for leave to appeal under FED. R. APP. PROC. 5 ten days

later, on January 7, 2022. (3d Cir. ECF 1.) This Circuit granted leave to

appeal on February 3, 2022. (1 AA 51-52.)




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                        ISSUE PRESENTED
     Whether the Students’ first amended complaint (2 AA 57-205)

states a claim upon which relief may be granted? (See 2 AA 207 [issue

raised]; 1 AA 4-34 [ruling]; 1 AA 35-50 [certifying interlocutory appeal

under 28 U.S.C. § 1292(b)]; 1 AA 51-52 [granting leave to appeal].)




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     RELATED CASES AND PROCEEDINGS
There are no related cases or proceedings.




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           COMBINED PROCEDURAL HISTORY AND
                STATEMENT OF THE CASE
     Appellees (the “Students”) are six present and former college

students who competed in intercollegiate football, baseball, soccer,

tennis, swimming and diving.1 They sue their own schools (the

“Attended Schools,” or simply “Schools”2), the National Collegiate

Athletic Association and 20 other universities in this Circuit (the “Non-

Attended Schools”3) under the Fair Labor Standards Act (“FLSA”), 29

U.S.C. §§ 201 et seq., Connecticut, New York and Pennsylvania wage




     1The Students are: Alexa Cooke (tennis, Lafayette College);
Ralph “Trey” Johnson (football, Villanova University, 2013-17);
Stephanie Kerkeles (swimming and diving, Fordham University);
Nicholas Labella (baseball, Fordham); Claudia Ruiz (tennis, Sacred
Heart University, 2014-18); and Jacob Willebeek-Lemair (soccer,
Cornell University, 2017-18). (2 AA 65-66 [¶¶ 19-24].)
     2The “Attended Schools” or “Schools” are: Cornell, Fordham,
Lafayette College, Sacred Heart, and Villanova.
     3 The Non-Attended Schools are: Bucknell University; Drexel
University; Duquesne University; Farleigh Dickinson University; La
Salle University; Lehigh University; Monmouth University; Penn State
University; Princeton University; Rider University; Robert Morris
University; Rutgers, The State University of New Jersey; Saint Francis
University; Saint Joseph’s University; Seton Hall University; St. Peter’s
University; Temple University; University of Delaware; University of
Pennsylvania; and University of Pittsburgh. All have been dismissed
and are not participating in this appeal. (See ED Pa. ECF 64, 65.)

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statutes, and the common law of those states, seeking wages for time

spent playing sport. They seek certification of an FLSA collective action

of all student athletes in all sports in all 350 NCAA Division I schools,

state law plaintiff Rule 23 classes, a Rule 23 FLSA defendant class of

all 350 Division I schools, and state-law defendant subclasses. (2 AA

149, 172 [¶¶ 256, 360].)

     The Students’ prolix 126-page, 42-paragraph first amended

complaint is the antithesis of “a short and plain statement of the claim.”

FED. R. CIV. PROC. 8(a)(2). Most of it is given over to legal argument,4

legislative facts such as NCAA bylaws, monies generated by college

football and basketball, federal regulation of work-study programs,5 and

the stuff of Brandeis briefs—mostly press reporting sympathetic to their




     4 See, e.g., 2 AA 61, 69-71, 81, 85-86, 92-94, 37, 101-02, 107, 109,
114, 117, 128-29, 133, 135, 139-46, 148-52 (¶¶ 1-2, 5, 39-43, 76, 90-92,
103, 112-14, 131-34, 142, 147, 160-62, 169, 190-93, 209, 218, 232-47,
249-50, 255, 259-60, 266).
     5 See, e.g., 2 AA 61-64, 66-67, 71-73, 75-92, 94-107, 109-10, 113-15,
117-27, 129-39, 144-46, 148-49 (¶¶ 1-3, 7, 14-17, 28-31, 44-55, 59-102,
104-11, 113, 115-41, 143-44, 148-52, 156-59, 163-65, 168, 170-89, 194-
208, 210-17, 219-31, 247, 251-54).

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cause.6 See generally FED. R. EVID. 201, Advisory Note to Subdivision

(a) (distinction between adjudicatory and legislative facts).

     The gist of the Students’ claim is that all athletes in all sports at

all Division I schools are employees entitled to wages solely because

they play sport, and that the NCAA and all Division I schools are joint

employers of all Division I athletes everywhere. The few adjudicatory

facts alleged are limited to the Students’ names, schools, sports, years of

play, a critical admission they are not paid to play sport under NCAA

rules, and an affirmation they “thoroughly enjoy(ed) and deeply value(d)

the experience of playing.” (2 AA 63, 65-66, 71-74 [¶¶ 8, 19-24, 43, 51-

53, 56-58].)

     The Attended Schools moved to dismiss the first amended

complaint under FED. R. CIV. PROC. 12(b)(1) and (b)(6), arguing that the

Students stated no claim under the FLSA, or Connecticut, New York

and Pennsylvania wage statutes and common law, because student

athletes are not employees solely because they play sport. (See 2 AA

206-09; ED Pa. ECF 25-1, 39, 42, 53.) The NCAA and Non-Attended



     6 See, e.g., 2 AA 61-62, 67-69, 73, 107-12, 115-17, 147-48 (¶¶ 4, 32-
38, 54-55, 145-46, 153-55, 166-67, 248).

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Schools separately moved to dismiss, joining in the Attended Schools’

motion, but also arguing that the Students failed to state a claim of any

joint employment relationship among the NCAA or any of the schools.

(See 2 AA 210-23; ED Pa. ECF 26, 26-1.) The Students opposed both

motions. (See ED Pa. ECF 28, 28-1, 29, 29-1, 29-2, 43, 54 [opposition to

Attended Schools]; 30, 30-1 [opposition to NCAA and Non-Attended

Schools].)

     The district court denied the motions of the Attended Schools and

NCAA but granted the motion of the Non-Attended Schools and

dismissed them. (See 1 AA 4-34; ED Pa. ECF 64, 65.) The Attended

Schools (joined by the NCAA) sought certification of the order denying

their motion under 28 U.S.C. § 1292(b), which the district court

granted. (1 AA 35-50.)

     This Circuit granted leave to appeal. (1 AA 51-52.)




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                      SUMMARY OF ARGUMENT
      The district court’s ruling that the Students state a claim for relief

is the product of five principal legal errors:7

      First, the district court disregarded the Seventh Circuit’s holding

that “student-athletes are not employees” of the schools they attend

“and are not covered by the FLSA” as a matter of law. Berger, 843 F.3d

at 288. The Seventh Circuit applied well-established FLSA principles

consistent with this Circuit’s case law to so hold. See § III(A) infra.

      Chief among those principles is the centrality of a bargain for

compensation in some form to the “economic reality” of student

athletics. The long-standing rule that professional athletes may not

play college sport, and hence that student athletes are not paid to play,

forecloses any argument that the FLSA requires the Schools to pay the

Students wages for playing sport. See § III(B) infra.

      The district court disregarded the Seventh Circuit in the mistaken

belief that the Supreme Court’s Alston ruling undermined Berger. This

was error for two reasons: First, Alston is inapposite. The question




      7   This Circuit reviews de novo. See § I infra.

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there—whether the NCAA could limit educational benefits for student

athletes under antitrust law—has no bearing on the application of

FLSA. Second, Alston actually praised the lower courts’ care in crafting

a remedy that “would not blur the distinction between college and

professional sports.” Alston, 141 S.Ct. at 2164. The Supreme Court has

not backed away from its longstanding view that the NCAA plays a

“critical role” in ensuring that professional athletes do not play college

sport, and courts “should take care when assessing the NCAA's

restraints on student-athlete compensation.” National Collegiate

Athletic Ass'n v. Board of Regents of the University of Oklahoma, 468

U.S. 85, 120 (1984) (“critical role”); Alston, 141 S.Ct. at 2158 (“should

take care . . .”). See § II infra.

      Second, the district court erred in applying the Second Circuit’s

multifactor test for student internships in Glatt v. Fox Searchlight

Pictures, Inc., 811 F.3d 528, 538 (2d Cir. 2016). No multifactor test—all

of which presume the existence of some sort of employment relationship

in the economic reality of the enterprise—adequately captures the

economic reality of student athletics. See § III(C) infra.




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     Third, the district court compounded this error by misapplying the

Glatt test in several ways: It failed to give proper weight to the

conceded non–existence of a compensation bargain, which the Second

Circuit views as “crucial.” Wang v. Hearst Corp., 877 F.3d 69, 73 (2d

Cir. 2017). See § III(D)(1) infra. It misconstrued the import of the

conceded broader educational value of sport. See § III(D)(2) infra. And it

strikingly undervalued the conceded fact that student athletes do not

displace the labor of paid workers. See III(D)(3) infra. Shorn of these

errors, five of seven Glatt factors point away from employment; the

remaining two point towards employment, but only modestly. The

district court erred when it weighed Glatt’s factors on the Students’

allegations to favor employment. See § III(D)(4) infra.

     Fourth, the district court disregarded the Department of Labor’s

longstanding interpretive guidance that “interscholastic athletics . . .

[is] not work of the kind contemplated by [the FLSA] and do[es] not

result in an employer-employee relationship between the student and

the school.” U.S. Dep’t of Labor, FIELD OPERATIONS HANDBOOK,

§ 10b03(e).8 Section 10 of the Portal-to-Portal Act of 1947 wrote into the


     8   https://www.dol.gov/agencies/whd/field-operations-handbook

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FLSA an express statutory defense to liability for defendants that rely

on such guidance. 29 U.S.C. § 259. The district court’s holding there was

no evidence before it that the Schools relied on this guidance was error.

Before and during the limitations period on the Students’ claims, each

of the Schools filed briefs in other litigation asserting such reliance. The

district acknowledged these statements exist but erred by denying them

the weight they deserved. See § III(E) infra.

     Fifth, because the Students’ state-law statutory claims follow

FLSA standards, and the FLSA preempts their unjust-enrichment

claims (which seek a state common-law remedy for FLSA violations),

the district court also erred in failing to dismiss them. See § IV infra.

     This Circuit should reverse and remand with instructions to

dismiss the action without leave to amend.




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                              ARGUMENT
                                 I.
         THIS CIRCUIT REVIEWS DE NOVO THE DISTRICT COURT’S
         RULING THAT THE STUDENTS STATE A CLAIM FOR WAGES
                    FOR PLAYING COLLEGE SPORT.

      This appeal reaches all legal issues germane to the district court’s

ruling that the Students’ complaint states a claim against the NCAA

and the Schools. It reviews those issues de novo.

      First, “[i]n reviewing a motion to dismiss,” this Circuit “review[s]

any legal determinations anew and presume that a complaint's factual

allegations are true.” Pennsylvania v. Navient Corp., 967 F.3d 273, 283

n.7 (3d Cir. 2020) (reviewing de novo, following 28 U.S.C. § 1292[b]

certification, a district court’s denial of a motion to dismiss for failure to

state a claim). But the presumption of truth does not extend to legal

and factual conclusions. See, e.g., Ashcroft v. Iqbal, 556 U. S. 662, 678

(2009); James v. City of Wilkes–Barre, 700 F.3d 675, 679 (3d Cir. 2012).

      Second, “[a]s the text of § 1292(b) indicates, appellate jurisdiction

applies to the order certified to the court of appeals, and is not tied to

the particular question formulated by the district court.” Yamaha Motor

Corp., USA v. Calhoun, 516 U.S. 199, 205 (1996). “The scope of our

review . . . is not limited to the question set forth in the certification
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motion but, rather, includes any issue fairly included within the

certified order.” Barbato v. Greystone All., LLC, 916 F.3d 260, 264 (3d

Cir. 2019).

                                   II.
              LAST TERM THE SUPREME COURT REAFFIRMED THE
               CORE PRINCIPLE THAT PROFESSIONAL ATHLETES
               MAY BE BANNED FROM PLAYING COLLEGE SPORT.

     “Fin de siècle college football was a rough game. Serious injuries

were common, and it was not unheard of for players to be killed during

games.” O’Bannon v. National Collegiate Athletic Ass’n, 802 F.3d 1049,

1053 (9th Cir. 2015). See also Alston, 141 S.Ct. at 2148. “Schools were

also free to hire nonstudent ringers to compete on their teams or to

purchase players away from other schools.” O'Bannon, 802 F.3d at

1053. “Colleges offered all manner of compensation to talented

athletes.” Alston, 141 S.Ct. at 2148. “The absence of academic residency

requirements gave rise to ‘tramp athletes’ who ‘roamed the country

making cameo athletic appearances, moving on whenever and wherever

the money was better.’” Id. (quoting Francis X. Dealy, Jr., WIN AT ANY

COST: THE SELL OUT OF COLLEGE ATHLETICS 71 [1990].) “By 1905,

though, a crisis emerged”—18 players lost their lives. Id. Because of

“these and other problems” (O'Bannon, 802 F.3d at 1053), “President

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Theodore Roosevelt responded by convening a meeting between

Harvard, Princeton, and Yale” out of which the NCAA was born. Alston,

141 S.Ct. at 2148.

        The following year, the NCAA’s forerunner announced its core

ideal of non-professionalism: “No student shall represent a College or

University in any intercollegiate game or contest who is paid or

receives, directly or indirectly, any money, or financial concession.” Id.

(quoting INTERCOLLEGIATE ATHLETIC ASSOCIATION OF THE UNITED

STATES CONSTITUTION BY-LAWS, Art. V, § 3).

        “In 1948, the NCAA sought to do more than admonish” members

to aspire to this ideal. “It adopted the ‘Sanity Code’” which authorized

members “to pay athlete’s tuition,” but also “created a new enforcement

mechanism” to suspend or expel “proven offenders.” Alston, 141 S.Ct. at

2149.

        In Board of Regents, the Supreme Court acknowledged the

“critical role” played by the NCAA “in the maintenance” of the non-

professional ideal.9 Board of Regents, 468 U.S. at 120. “There can be no



     The “Principle of Amateurism” in the NCAA’s bylaws has long
        9

encompassed two parts: A core non-professional ideal—“Student-

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question but that it needs ample latitude to play that role, or that the

preservation of the student-athlete in higher education adds richness

and diversity to intercollegiate athletics . . . .” Id. At the same time, the

Court invalidated under the Sherman Act restrictions on the broadcast

of college sport, holding these restrictions “do not . . . fit into the same

mold as do rules defining . . . the eligibility of participants . . .” Id. at

117. While Alston too rejected the idea “that courts must reflexively

reject all challenges to the NCAA's compensation restrictions,” it

concurred in Board of Regents’ respect for the non-professional ideal,

noting that Board of Regents “may suggest that courts should take care

when assessing the NCAA's restraints on student-athlete compensation

. . . .” Alston, 141 S.Ct. at 2158.




athletes shall be amateurs in an intercollegiate sport, and their
participation should be motivated primarily by education and by the
physical, mental and social benefits to be derived.” And a peripheral
one—aimed at protecting “student-athletes . . . protected from
exploitation by professional and commercial enterprises.” See, e.g.,
2021-22 NCAA DIVISION I MANUAL § 2.9 (https://web3.ncaa.org/lsdbi/
reports/getReport/90008). Board of Regents spoke in terms of
“amateurism,” but it and its progeny (such as Alston and O’Bannon)
reject the proposition that all rules aimed at preventing exploitation are
insulated from antitrust scrutiny on account of “amateurism.” However,
they express consistent respect for the core non-professional ideal.

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     Board of Regents established a principle of affording “ample

latitude” (which Alston describes as “tak[ing] care”) concerning the non-

professional ideal, while subjecting other rules to greater scrutiny. This

distinction guided the Ninth Circuit’s decisions in O’Bannon and GIA

Cap Antitrust Lit. and was affirmed by the Supreme Court last term in

Alston.

     O’Bannon and GIA Cap Antitrust Lit. invalidated certain limits

on athletic scholarships and on students accepting pay for name, image

and likeness rights. But both echo Board of Regents’ respect for the non-

professional ideal. O’Bannon carefully pointed out that “not paying

student-athletes is precisely what makes them amateurs.” O’Bannon,

802 F.3d at 1053 (emphasis in original). GIA Cap Antitrust Lit.

acknowledged that student athletes do not receive “‘unlimited payments

unrelated to education, akin to salaries seen in professional sports

leagues.’” GIA Cap Antitrust Lit., 958 F.3d at 1258 (quoting and

affirming 375 F.Supp.3d at 1083) (emphasis added). The Supreme

Court praised the latter’s care in crafting a remedy that “would not blur

the distinction between college and professional sports” Alston, 141




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S.Ct. at 2164 (emphasis added), reaffirming the respect paid by Board

of Regents to the anti-professional ideal.10

     Alston rejected the proposition that, in the antitrust arena, Board

of Regents’ “ample latitude” somehow “foreclose[s] any rule of reason

review” of NCAA regulations. Alston, 141 S.Ct. at 2158 (emphasis

added). But it also acknowledged that Board of Regents “may suggest

that courts should take care” when conducting such review and praised

“not blur[ring] the distinction between college and professional sports.”

Id. at 2158, 2164. Thus, the line of opinions culminating in Alston make

plain that, regardless of the treatment of other NCAA bylaws, the non-

professional ideal still merits “ample latitude” or “care” from courts.

Board of Regents, 468 U.S. at 120. This case concerns that very ideal:

the Students allege that following the rule banning professionals from

college sport is unlawful.

     The Students’ claim is not written on an empty slate. In Berger,

the Seventh Circuit held that Board of Regents’ “‘revered tradition of



     10 Only Justice Kavanagh, in a concurrence that no other justice
joined, questioned the “ample latitude” or “care” accorded the anti-
professional principle in Board of Regents. See Alston, 141 S.Ct. at
2168-69.

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amateurism in college sports’ . . . defines the economic reality of the

relationship between student-athletes and their schools.” Berger, 843

F.2d at 291. Accordingly, “student-athletes are not employees” of the

schools they attend “and are not covered by the FLSA” as a matter of

law. Id. at 288. Berger is the culmination of 65 years of caselaw broadly

rejecting claims that student athletes are employees of their schools

solely because they play sport.11 Those decisions reflect the “ample

latitude” or “care” Board of Regents called for (and follow the line drawn

in its progeny). Alston implicitly affirmed them when it reaffirmed




     11 See Dawson v. Nat’l Collegiate Athletic Ass’n, 250 F. Supp. 3d
401 (N.D. Cal. 2017); Berger v. National Collegiate Athletic Ass’n, 162
F. Supp. 3d 845 (S.D. Ind. 2016); Kavanagh v. Trustees of Boston Univ.,
440 Mass. 195, 199 (2003); Korellas v. Ohio State Univ., 121 Ohio Misc.
2d 16, 19, (Ohio Ct. Cl. 2002); Shephard v. Loyola Marymount Univ.,
102 Cal.App.4th 837, 844–46 (2002); Waldrep v. Texas Employers Ins.
Ass’n, 21 S.W.3d 692, 701 (Tex. App. 2000); Townsend v. State of
California, 191 Cal.App.3d 1530, 1537 (1987); Rensing v. Indiana State
Univ. Board of Trustees, 444 N.E.2d 1170, 1175 (Ind. 1983); Coleman v.
Western Michigan University, 125 Mich. App. 35, 44 (1983); State
Comp. Ins. Fund v. Industrial Commission, 135 Colo. 570, 572-74
(1957).
      Livers v. Nat’l Collegiate Athletic Ass’n, No. CV 17-4271, 2018 WL
2291027 (E.D. Pa. May 17, 2018), declined to dismiss an FLSA claim at
the pleading stage, but the district court never reached the employment
question because the plaintiff abandoned his action, dismissing it
without settlement.

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Board of Regents. The district court went astray when it drew the

opposite conclusion. (See 1 AA 14-15.) Concurring with Berger and

reversing the district court will bring this Circuit into line with the

framework established by the Supreme Court in Board of Regents and

Alston that courts should “not blur the distinction between college and

professional sports” Alston, 141 S.Ct. at 2164.

                              III.
 BECAUSE STUDENT ATHLETES ARE NOT IPSO FACTO EMPLOYEES UNDER
 THE FLSA, THE DISTRICT COURT ERRED WHEN IT HELD THE STUDENTS
                         STATE A CLAIM.

     The Supreme Court makes clear that “the test of employment”

under the FLSA is one of “‘economic reality’ rather than ‘technical

concepts.’” Goldberg v. Whitaker House Coop., Inc., 366 U.S. 28, 33

(1961). It also makes clear, in Board of Regents and Alston, that the

NCAA and member schools have “ample latitude” to enforce rules that

ban professional athletes from college sport and courts should exercise

“care” when scrutinizing those rules. The imperative to “not blur the

distinction between college and professional sports” (Alston, 141 S.Ct.

at 2164) “defines the economic reality of the relationship between

student-athletes and their schools.” Berger, 843 F.3d at 291.



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     Given these fundamental concepts, it is no surprise that no

court—state or federal—has ever held that a student who voluntarily

participates in college sport must, by that fact alone, be compensated as

a school employee. Indeed the Seventh Circuit, in Berger, held the

opposite: “student-athletes are not employees” of the schools they

attend “and are not covered by the FLSA” as a matter of law. Id. at 288.

See also Dawson v. Nat’l Collegiate Athletic Ass’n, 250 F. Supp. 3d 401

(N.D. Cal. 2017) (following Berger), aff’d on other grounds, 932 F.3d 905

(9th Cir. 2019).

     Berger is well-reasoned, accords with governing principles handed

down by the Supreme Court and this Circuit and follow the long-

standing views of the Department of Labor, whose interpretation of the

FLSA not only merit deference, but create a statutory defense to

liability. This Circuit should concur with the Seventh and hold that

student athletes are not employees of their schools or the NCAA solely

because they play sport.




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                                      A.
 THE SEVENTH CIRCUIT, CONSISTENT WITH THIS CIRCUIT’S PRECEDENT,
 HELD STUDENT ATHLETES ARE NOT EMPLOYEES SOLELY BECAUSE THEY
    PLAY SPORT. THE DISTRICT COURT ERRED BY DISREGARDING IT.

     In Berger, two former University of Pennsylvania track-and-field

athletes sued their alma mater, over 120 Division I schools, and the

NCAA itself, alleging, like the Students here, “that student-athletes are

employees who are entitled to a minimum wage under the [FLSA].”

Berger, 843 F.3d at 288. The Southern District of Indiana dismissed

their complaint with prejudice under Rule 12, “holding that (1)

[plaintiffs] lacked standing to sue any of the [defendants] other than

Penn, and (2) [plaintiffs] failed to state a claim against Penn because

student-athletes are not employees under the FLSA.” Id. at 289. The

Seventh Circuit affirmed both holdings. While not binding on this

Circuit, Berger’s analysis is persuasive.

     Regarding the athletes’ relationship to Penn itself, the Seventh

Circuit broadly held that “student-athletes are not employees” of the

schools they attend “and are not covered by the FLSA” as a matter of

law. Id. at 288. Accord, Dawson, 250 F. Supp. 3d at 403 (following

Berger).



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     Berger started with the observation that the FLSA defines the

employment relationship “in an unhelpful and circular fashion.” Berger

, 843 F.3d at 290. But “the test of employment” under the FLSA is one

of “‘economic reality’ rather than ‘technical concepts.’” Goldberg, 366

U.S. at 33; accord Tony & Susan Alamo Foundation v. Secretary of

Labor, 471 U.S. 290, 301 (1985). Thus, Berger turned to “economic

reality.” Berger, 843 F.3d at 290.

     Berger noted that while courts have established various

“multifactor tests” to determine whether a particular relationship

qualifies as “employment” under the FLSA, it would not apply any them

because all “fail to capture the true nature of the relationship’ between

student-athletes and their schools and [are] not a ‘helpful guide.’” Id.12

Instead, noting there “exists a ‘revered tradition of amateurism in


     12 This Circuit too applies multi-factor tests when appropriate and
departs from them when appropriate. See Enterprise Rent-A-Car Wage
& Hour Emp’t Practices Litig., 683 F.3d 462, 469 (3rd Cir. 2012) (factors
“should not be ‘blindly applied’ . . . whether an employment relationship
exists under the FLSA ‘does not depend on . . . isolated factors but
rather upon the ‘circumstances of the whole activity.’”) (quoting
Rutherford Food Corp. v. McComb, 331 U.S. 722, 730 [1947]). See also
Donovan v. DialAmerica Mktg., Inc., 757 F.2d 1376, 1382 (3d Cir. 1985)
(“Neither the presence nor absence of any particular factor is
dispositive.”), cert. denied, DialAmerica Marketing, Inc. v. Brock, 474
U.S. 919 (1985).

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college sports,’” it held “[t]hat long-standing tradition,” rather than any

multi-factor test, “defines the economic reality of the relationship

between student-athletes and their schools.” Id. (quoting Board of

Regents., 468 U.S. at 120).

     Citing O’Bannon, Berger reasoned that “the NCAA and its

member universities and colleges have created an elaborate system of

eligibility rules” in order to “maintain this tradition of amateurism.” Id.

These rules, Berger held, “‘define what it means to be an amateur or a

student-athlete, and are therefore essential to the very existence of

collegiate athletics.” Id. (quoting Agnew v. National Collegiate Athletic

Ass’n, 683 F.3d 328, 343 [7th Cir. 2012]).

     Berger concluded that “[t]he multifactor test proposed by

[plaintiffs] simply does not take into account this tradition of

amateurism or the reality of the student athlete experience.” Id.

Rather than straining to fit the case into an inappropriate multi-factor

test, it turned to the extensive experience of courts and of regulators.

     “A majority of courts,” Berger noted, “have concluded—albeit in

different contexts—that student-athletes are not employees.” Id. See

also n.11, supra. On the regulatory front, it noted, “[t]he Department of


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Labor . . . has also indicated that student-athletes are not employees

under the FLSA.” Id. at 292.

     The Seventh Circuit concluded its economic reality analysis by

stating definitively that student-athletes cannot be employees as a

matter of law because their participation in sport is voluntary and

student athletes have participated in sport for more than a century with

no expectation of pay:

           “Appellants in this case have not, and quite
           frankly cannot, allege that the activities they
           pursued as student-athletes qualify as ‘work’
           sufficient to trigger the minimum wage
           requirements of the FLSA. Student participation
           in collegiate athletics is entirely voluntary.
           Moreover, the long tradition of amateurism in
           college sports, by definition, shows that student-
           athletes—like all amateur athletes—participate
           in their sports for reasons wholly unrelated to
           immediate compensation. Although we do not
           doubt that student-athletes spend a tremendous
           amount of time playing for their respective
           schools, they do so—and have done so for over a
           hundred years under the NCAA—without any
           real expectation of earning an income. Simply
           put, student-athletic ‘play’ is not ‘work,’ at least
           as the term is used in the FLSA. We therefore
           hold, as a matter of law, that student-athletes are
           not employees and are not entitled to a minimum
           wage under the FLSA.” (Id. at 293 [emphasis
           added].)



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                             B.
THE ABSENCE OF A COMPENSATION BARGAIN FOR PLAYING SPORT DOOMS
            THE STUDENTS’ CLAIMS UNDER THE FLSA.

     The Students admit—as they must—that “[S]chools just do not

pay Student Athletes . . . .” (2 AA 61 [¶ 2] [emphasis in original]. They

“do not have any options to choose any opportunities to play NCAA

sports for wages at any NCAA D1 school [and] . . . also do not have any

option to bargain for such wages with any such school” (2 AA 71 [¶ 43]

[emphasis in original].)

     These admissions are fatal to the Students’ claims. First, Berger’s

focus on the fact that student athletes play sport “without any real

expectation of earning an income”—“and have done so for over a

hundred years under the NCAA”—squarely accords with Supreme

Court precedent holding that without a compensation bargain there can

be no employment relationship under the FLSA. Berger, 843 F.3d at

293. Second, that focus is required by the ordinary, contemporary

meaning of the text of the FLSA.

     1.    THE SUPREME COURT HAS LONG HELD A
           COMPENSATION BARGAIN ESSENTIAL
           TO THE ECONOMIC REALITY OF EMPLOYMENT.

     “The test of employment under the [FLSA] is one of ‘economic

reality.’” Alamo, 471 U.S. at 301; accord Goldberg, 366 U.S. at 33.
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Individuals cannot be “employees” covered by the FLSA unless they are

working under an “express or implied compensation agreement.”

Walling v. Portland Terminal Co., 330 U.S. 148, 152 (1947); see also

Alamo, 471 U.S. at 300-01; Williams v. Strickland, 87 F.3d 1064, 1067

(9th Cir. 1996). When an individual’s work “did not contemplate . . .

compensation” in the first place, he or she is “outside the sweep of the

Act.” Alamo, 471 U.S. at 295, 300 (omission in original) (quotation

marks omitted). Despite the breadth of the FLSA’s definition of

employment, “it does have its limits. An individual who, ‘without

promise or expectation of compensation, but solely for his personal

purpose or pleasure, work[s] in activities carried on by other persons

either for their pleasure or profit,’ is outside the sweep of the Act.” Id.

at 295 (quoting Walling, 330 U.S. at 152). Accord RESTATEMENT OF

EMPLOYMENT LAW § 1.02 (2015) (“An individual is a volunteer and not

an employee if the individual renders uncoerced services to a principal

without being offered a material inducement.”)

     In Walling, for example, the Supreme Court held that railroad

trainees were not “employees” because they were functionally similar to

students “tak[ing] courses in railroading in a public or private


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vocational school.” 330 U.S. at 152-53. The FLSA’s definition of

employment, the Court explained, “was obviously not intended to stamp

all persons as employees who, without any express or implied

compensation agreement, might work for their own advantage on the

premises of another.” Id. at 152. “Otherwise, all students would be

employees of the school or college they attended, and as such entitled to

receive minimum wages.” Id. (emphasis added). “[S]uch a

construction,” the Court held, “would sweep under the Act each person

who, without promise or expectation of compensation, but solely for his

personal purpose or pleasure, worked in activities carried on by other

persons either for their pleasure or profit.” Id. That would exceed the

FLSA’s “purpose as to wages,” which was simply “to insure that every

person whose employment contemplated compensation should not be

compelled to sell his services for less than the prescribed minimum

wage.” Id. (emphasis added).

     Similarly, the Ninth Circuit held in Williams that the plaintiff—a

participant in a Salvation Army adult rehabilitation center—was not

employed by the center, even though he participated full-time in what

the center called “work therapy” and the center gave him “food,


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clothing, shelter, and a small stipend of seven to twenty dollars per

week.” Williams, 87 F.3d at 1065. Mr. Williams was not an employee

under the FLSA, the Court held, because he “had neither an express nor

an implied agreement for compensation.” Id. at 1067. Rather, his

“relationship with the Salvation Army was solely rehabilitative”: His

“work therapy was not performed in exchange for in-kind benefits, but

rather was performed to give him a sense of self-worth [and]

accomplishment,” “enabl[ing] him to overcome his drinking problems

and reenter the economic marketplace.” Id. And the “in-kind benefits”

that he received were given to him not to compensate him for his

services but “to enable him to pursue his rehabilitation.” Id.

     Following these cases, student athletes are not employees because

the anti-professional ideal “defines the economic reality” of their

activity. Berger, 843 F.3d at 291; see also Board of Regents, 468 U.S. at

120; O’Bannon, 802 F.3d at 1076. NCAA “eligibility rules,” especially

those prohibiting compensation for play, “define what it means to be an

amateur or a student-athlete, and are therefore essential to the very

existence of . . . college football.” Agnew, 683 F.3d at 343. If student-

athletes were paid for playing, they would be professionals, and college


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sport would become the “minor league” version of professional sport

that the Supreme Court holds it is not. O’Bannon, 802 F.3d at 1074

(quoting Board of Regents, 486 U.S. at 101-102).

     As Berger explained, the importance of anti-professional ideal to

college sport forecloses, as a matter of law, any contention that student

athletes are employees under the FLSA. Berger, 843 F.3d at 291.

“[S]tudent athletes—like all amateur athletes—participate in their

sports for reasons wholly unrelated to immediate compensation.” Id. at

293. These reasons include the enjoyment of playing a sport they love,

health benefits of being physically active, opportunity to develop

personal discipline and leadership skills, camaraderie of joining with

teammates in a common endeavor, opportunity (for students with

athletic scholarships) to earn a college degree otherwise out of reach,

desire to develop their skills and profile in hopes of eventually playing

professionally (however unlikely that may be) and so on. Student

athletes cannot plausibly claim to have been motivated by an “express

or implied compensation agreement” when they entered college

(Walling, 330 U.S. at 152) given that the economic reality of college




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sport has been defined “for over a hundred years” by the prohibition on

compensation for playing. Berger, 843 F.3d at 293.

     2.    THE ORDINARY CONTEMPORARY MEANING OF THE
           FLSA’S TEXT CONTEMPLATES A COMPENSATION BARGAIN.

     The centrality of a compensation bargain to employment is

grounded in the ordinary contemporary meaning of the words chosen by

Congress when it enacted the FLSA in 1938.

      “[A] ‘fundamental canon of statutory construction’ [is] that words

generally should be ‘interpreted as taking their ordinary . . . meaning . .

. at the time Congress enacted the statute.’” Wisconsin Central Ltd. v.

United States, 138 S.Ct. 2067, 2074 (2018). “After all, if judges could

freely invest old statutory terms with new meanings, we would risk

amending legislation outside the “single, finely wrought and

exhaustively considered, procedure” the Constitution commands.” New

Prime Inc. v. Oliveira, 139 S.Ct. 532, 538 (2019) (quoting INS v.

Chadha, 462 U.S. 919, 951 [1983]). “[A] court’s proper starting point

lies in a careful examination of the ordinary meaning and structure of

the law itself.” Food Marketing Institute v. Argus Leader Media, 139

S.Ct. 2356, 2364 (2019).



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     The FLSA defines an “employee” as someone “employed by an

employer”; an “employer” as someone who acts as an “employer in

relation to an employee”; and “employ” as “to suffer or to permit work.”

See 29 U.S.C. §§ 203(d),(e)(1) and (g). It requires “employees” who are

“employed in an enterprise” to be paid a minimum “wage.” 29 U.S.C.

§ 206(a). It requires overtime be paid to “employees” as “compensation

for [their] employment in excess of [40] hours.” 29 U.S.C. § 207(a)(1).

     During the period leading to the enactment of the FLSA in 1938,

the words “employ” and “employment” as they were commonly

understood in the working world entailed a compensation bargain. In

1910, BLACK’S LAW DICTIONARY stated “[e]mploy . . . when used in

respect to a servant or hired laborer . . . is equivalent to hiring, which

implies a request and a contract for compensation . . . .” BLACK’S LAW

DICTIONARY 421 (2nd ed. 1910).13 The next edition, published just five

years before passage of the FLSA, repeated the very same definition,

adding: “and has but this one meaning when used in the ordinary

affairs and business of life.” BLACK’S LAW DICTIONARY 657 (3rd ed.



     13https://archive.org/details/bub_gb_R2c8AAAAIAAJ_3/
page/n5/mode/2up

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1933).14 In the same edition, it defined “employment,” when used to

describe “[t]he act of hiring” as “implying a request and a contract for

compensation.” Id. at 658. The synonyms for “employment” listed by

the OXFORD ENGLISH DICTIONARY published in the same year included

“business,” “occupation,” “trade or profession.” III OXFORD ENGLISH

DICTIONARY 130 (1st ed. 1933).15

     The words “compensation” and “wages” too entailed an agreement

to labor for remuneration. In 1910, BLACK’s defined “compensation” as

“the remuneration or wages given to an employe [sic.] or officer,” and

“wages” as [t]he compensation agreed upon by a master to be paid to a

servant, or any other person hired to do work or business for him.”

BLACK’S LAW DICTIONARY 232, 1215 (2nd ed. 1910). In 1933, it carried

over the same definitions, adding “[s]alary, pay or emolument” as

synonyms of “compensation” when given to an employee. BLACK’S LAW

DICTIONARY 378 (3rd ed. 1933).




      https://archive.org/details/blacks-law-dictionary-3rd-edition-
     14

1933/mode/2up
      https://archive.org/details/in.ernet.dli.2015.147244/page/n1/
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     The Supreme Court—consistent with its frequent holdings that

courts interpreting statutes “giv[e] the words used their ordinary

meaning” (Lawson v. FMR LLC, 571 U.S. 429, 440 [2014])—has

explained that the key terms in the FLSA, “employment” and “work,”

have these normal, everyday meaning, i.e., how they were “commonly

used.” Tennessee Coal Co. v. Muscoda Local, 321 U.S. 590, 598 (1944),

abrogated by statute on other grounds, Yu v. Hasaki Rest., Inc., 944

F.3d 395, 420 n.6 (2d Cir. 2019). Hence, “when relationships have

deviated from the traditional understanding of employment in

fundamental ways, the Supreme Court has refused to shoehorn them

into the” FLSA. Steelman v. Hirsch, 473 F.3d 124, 129 (4th Cir. 2007).

     The Students’ claim they are “employees” when they play sport is

simply not “what the English language tells us . . . to expect.” Lopez v.

Gonzales, 549 U.S. 47, 54 (2006). It would be confusing to say that a

student who plays an intercollegiate sport does so as an “employee” of

his school—let alone of the NCAA or other Division I schools. The

student athlete is not an assistant coach, a trainer, or team

administrator, consistent with the everyday sense of the word

“employee” in college sports. See also Berger, 843 F.3d at 293 (“Simply


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put . . . ‘play’ is not ‘work.’”). Common usage—just as much as original

contemporary meaning—confirms the correctness of the Berger’s

ruling.16

                               C.
           THE SEVENTH CIRCUIT CORRECTLY DISREGARDED
      MULTI-FACTOR TESTS OF ECONOMIC REALITY IN FAVOR OF A
  HOLISTIC STANDARD BASED ON THE NON-PROFESSIONAL IDEAL. THE
  DISTRICT COURT ERRED BY APPLYING INSTEAD THE SECOND CIRCUIT’S
                  TEST FOR STUDENT INTERNSHIPS.

       The “‘economic reality’ standard . . . is not a precise test

susceptible to formulaic application.” Ellington v. City of East

Cleveland, 689 F.3d 549, 555 (6th Cir. 2012). “[E]mployment for FLSA

purposes [is] a flexible concept to be determined on a case-by-case basis

by review of the totality of the circumstances.” Barfield v. N.Y.C. Health

& Hospital Corp., 537 F.3d 132, 141-42 (2d Cir. 2008).




      16Any argument that “work” means any form of physical or
mental exertion would be unavailing. In both Walling and Williams, the
plaintiffs were unquestionably engaged in such exertion. And there is
no dispute that college students engage in substantial mental exertion
in pursuing their studies. Yet the Supreme Court makes clear such
exertion does not ipso facto create employment: untethered from the
requirement of a compensation bargain, “all students would be
employees of the school or college they attended, and as such entitled to
receive minimum wages.” Walling, 330 U.S. at 152.

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     “[E]conomic reality” tests vary from the holistic to the formulaic.

While “[t]here must be some ultimate question to answer, factors to

balance, or some combination of the two” (Solis v. Laurelbrook

Sanitarium and Sch., Inc., 642 F.3d 518, 522-23 [6th Cir. 2011]), “the

broader message of [Alamo] is that in evaluating whether a particular

person is an ‘employee’ within the meaning of the FLSA, a holistic

approach to the fundamental task of discerning the ‘economic reality’ of

the relationship between the alleged employee and employer may be

appropriate and necessary.” Livers, 2018 WL 2291027, *14.

     Sometimes that analysis requires a multi-factor test tailored to the

context. The most well-established tests are tailored to independent

contractor classification disputes (e.g., DialAmerica, 757 F.2d at 1382),

joint employment disputes (e.g., Enterprise, 683 F.3d at 468), or student

internships (e.g., Glatt, 811 F.3d 528; Benjamin v. B & H Education,

Inc., 877 F.3d 1139 [9th Cir. 2017]).

     But there are two glaring problems with applying any of these

multi-factor tests to the Students:

     First, the district court’s decision to apply a multi-factor test

smuggled an assumed answer to the very question it posed. Each test is


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premised on a norm of ordinary employment within the economic

reality of the endeavor to which it is applied and asks whether there are

special circumstances that mark a deviation from that norm.

DialAmerica asks whether plaintiff works sufficiently independently to

be considered a contractor rather than a regular employee. Enterprise

starts with a given that plaintiff is a regular employee of one party and

asks whether a second party is an additional employer. Glatt asks

whether an intern is getting enough learning from their work

experience to be considered a trainee rather than a regular employee.

       But with student athletes, schools are not commercial entities who

pay people to play sport. Professional sport exists outside of the

university. The non-professional ideal exists to keep it outside the

university.

       Second—and for that very reason—none of the multi-factor tests

capture the economic reality of the relationship between student athlete

and school. See Berger, 843 F.3d at 291. None of them accounts for the

“revered tradition” that defines the “economic reality” of the

relationship between student-athlete and school. Berger, 843 F.3d at

293.


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                                 D.
              THE DISTRICT COURT COMPOUNDED ERROR BY
                MISAPPLYING THE SECOND CIRCUIT TEST.

     The district court settled on the Second Circuit’s student-intern

test. Doing so was error, as just explained. But it compounded error by

misapplying the test. Correctly applied, the test indicates student

athletes are not employees solely because they play sport.

     In Glatt, the Second Circuit held that “the proper question is

whether the intern or the employer is the primary beneficiary of the

relationship” and set forth the following “factors” to be used to answer

that question:

             “1. The extent to which the intern and the
           employer clearly understand that there is no
           expectation of compensation. Any promise of
           compensation, express or implied, suggests that
           the intern is an employee—and vice versa.

             “2. The extent to which the internship provides
           training that would be similar to that which
           would be given in an educational
           environment . . . .
             “3. The extent to which the internship is tied to
           the intern’s formal education program . . . .
             “4. The extent to which the internship
           accommodates the intern’s academic
           commitments by corresponding to the academic
           calendar.
             “5. The extent to which the internship’s
           duration is limited to the period in which the
           internship provides the intern with beneficial
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            learning.
              “6. The extent to which the intern’s work
            complements, rather than displaces, the work of
            paid employees while providing significant
            educational benefits to the intern.
              “7. The extent to which the intern and the
            employer understand that the internship is
            conducted without entitlement to a paid job at the
            conclusion of the internship” (Id. at 536-37.)

“[E]very factor need not point in the same direction for the court to

conclude that the intern is not an employee entitled to the minimum

wage.” Id. at 537.

      While “[n]o one factor is dispositive,” they are not all of equal

importance. Glatt, 811 F.3d at 537. Factors 1 and 7 “are crucial to

understanding the ‘economic reality’ of the internship relationship.”

Wang, 877 F.3d at 73 (emphasis added). This is because the purpose of

the test is to “[d]istill[] the import of [Walling] in the context of interns.”

Velarde v. GW GJ, Inc., 914 F.3d 779, 784 (2d Cir. 2019). Factors 1 and

7 “are essentially the same as [Walling’s] consideration[]” that there

exist an “express or implied compensation agreement.” Schumann v.

Collier Anesthesia, P.A., 803 F.3d 1199, 1212 (11th Cir. 2015)

(“essentially the same”); Walling, 330 U.S. at 152 (“compensation

agreement”).


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     And while this list is “non-exhaustive” (Glatt, 811 F.3d at 536),

that the NCAA or Schools derive some “immediate advantage” because

a few sports make money cannot be added to the list to diminish the

importance of an expectation of compensation. See Velarde, 914 F.3d at

785-88 (affirming ruling that cosmetology student who did supervised

work for which school charged customers was not an employee under

Glatt). Although a factor to be considered, Walling “does not imply that

FLSA renders any organization that receives some immediate benefit

from unpaid labor an ‘employer’ of the individual from which the benefit

is derived.” Velarde, 914 F.3d at 784-85 (following Walling). See also

Schumann, 803 F.3d at 1211 (“mere fact” that a business benefits from

offering internships “cannot, standing alone, render the student interns

‘employees’ for the purposes of the FLSA.”).

     1.    IT GAVE INSUFFICIENT WEIGHT TO “CRUCIAL”
           FACTORS CONCERNING A COMPENSATION BARGAIN,
           WHICH POINT STRONGLY AWAY FROM EMPLOYMENT.

     Because Factors 1 and 7 “are crucial to understanding the

‘economic reality’ of the internship relationship” (Wang, 877 F.3d at 73),

their concession “weighs heavily” against finding an employment

relationship. Vaughn v. Phx. House New York, Inc., No. 14-CV-3918


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(RA), 2019 WL 568012, at *6 (S.D.N.Y. Feb. 12, 2019), aff’d, 957 F.3d

141, 146 (2d Cir. 2020). See also Glatt, 811 F.3d at 537 (“Any promise of

compensation, express or implied, suggests that the intern is an

employee—and vice versa.”)

      The Students expressly concede them in the first amended

complaint. First, they plead “[s]tudent-athletes do not have any options

to choose any opportunities to play NCAA sports for wages at any

NCAA D1 school [and] . . . also do not have any option to bargain for

such wages with any such school.” (2 AA 71 [¶ 43] [emphasis in

original]. See also 2 AA 72-73 [¶¶ 51-55] [sanctions for violating NCAA

bylaws barring compensation of athletes].) Second, they plead “[n]either

student employees in Work Study, nor Student Athletes in the NCAA

sports program, are entitled to a paid job at their respective NCAA D1

member school after graduation.” (2 AA 101 [¶ 132 [emphasis in

original].) 17



      17The Students attempt to allege Factor 7 out of existence by
arguing in their amended complaint that it “only applies to corporations
and similar employers – not to colleges, universities or proprietary
schools.” (2 AA 101 n.9 [¶ 132] [emphasis in original].) Insofar as
Glatt expressly limited its test to “the context of unpaid internships”
with “for-profit employers” (Glatt, 811 F.3d at 536 & n.2), the Students

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      The district court agreed that both Factors 1 and 7 “weigh in favor

of finding that the [Students] are not employees.” (1 AA 32.) But it did

not consider them “crucial,” as the Second Circuit intended. Wang, 877

F.3d at 73. Rather, the district court dismissed “expectation of

compensation” as “just one of seven non-dispositive factors.” (1 AA 25

n.10.) This is the district court’s first error in applying Glatt: Factors 1

and 7 merited weight greater than the district court gave them.

      2.    IT MISCONSTRUED FACTORS CONCERNING THE
            EDUCATIONAL VALUES OF INTERNSHIP TO CONCLUDE
            THEY ARE NEUTRAL WHEN APPLIED TO SPORT.
            BECAUSE THE STUDENTS CONCEDE SPORT’S BROADER
            EDUCATIONAL VALUE, THESE FACTORS POINT
            AWAY FROM EMPLOYMENT.

      The district court’s next error was in finding Factors 2 (“training .

. . similar to . . . an educational environment”) and 5 (“limited to . . .

beneficial learning”) “would be neutral” (1 AA 32), when they actually

point away from employment.



have a point. The NCAA and Schools are nonprofit 501(c)(3)
organizations. (See ED Pa. ECF 24.)
      Thus, the Students effectively concede what Berger held—Glatt
is not appropriately applied to student-athletes. Berger, 843 F.3d at
290-91 (declining to apply Glatt). But if Glatt is going to be applied to
their allegations, the Students do not get to pick and choose which
factors they like, and which they do not.

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      The district court concluded that Factors 2 and 5 were “neutral”

because “[t]he Complaint does not contain any factual allegations that

specifically pertain to” them. (1 AA 30.) But the Students quote and

incorporate by reference discovery in earlier litigation that “[l]earning

benefits from participation in NCAA athletics include, but are not

limited to: discipline, work ethic, strategic thinking, time management,

leadership, goal-setting, and teamwork.” (2 AA 78 [¶ 70].) They also

quote and incorporate by reference testimony of a former Division 1

quarterback agreeing that playing sport “helps build . . . human

values,” such as “character” and “perseverance.” (2 AA 78 n.7.) And the

Students allege these admitted benefits are not “academic” ones. (Id.)

      The Students’ argument about the legal significance of these

conceded benefits is afforded no weight. See, e.g., Garfield v. Shutterfly,

Inc., 857 Fed. App’x 71, 74 n.4 (3d Cir. 2021). Factors 2 and 5 do not ask

about the academic character of the internship—Factor 3 addresses

academics. Factors 2 and 5 are focused on educational benefits beyond

classroom learning. Factor 2 specifically references “clinical and other

hands-on training,” and Factor 5 references “beneficial learning.” Glatt,

811 F.3d at 537.


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     The benefits of intercollegiate sport admitted by the Students in

their complaint—character, discipline, goal-setting, leadership,

perseverance, teamwork, time management, strategic thinking, and

work ethic—are widely recognized. “For college students, athletics

offers an opportunity to execute leadership skills, learn teamwork, build

self-confidence, and perfect self-discipline.” Cohen v. Brown University,

991 F.2d 888, 891 (1st Cir. 1993). (In high school, too, “sports are part of

the school learning experience.” Lilley v. Elk Grove Unified School Dist.,

68 Cal.App.4th 939, 946 [1998].) “[C]ollege sports provide[] an

important opportunity for teaching people about character, motivation,

endurance, loyalty, and the attainment of one's personal best—all

qualities of great value in citizens. In this sense, competitive athletics

were viewed as an extracurricular activity, justified by the university as

part of its ideal objective of educating the whole person.” Bloom v.

National Collegiate Athletic Ass’n, 93 P.3d 621, 626 (Colo. App. 2004)

(quoting James J. Duderstadt, INTERCOLLEGIATE ATHLETICS AND THE

AMERICAN UNIVERSITY 70 [2003]).

     These ‘intangible’ benefits carry over into the classroom, and then

to life after college. Professor James Heckman, a Nobel Prize-winning


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economist at the University of Chicago, recently released research that

“demonstrate[s], based on the available data, substantial benefits to

athletic participation.” He found “intercollegiate varsity athletes are as

likely or more likely to earn at least a Bachelor’s degree relative to

comparable non‐athletes” and “positive effects of athletics on initial

(mid‐20’s) wages.” James J. Heckman & Colleen P. Loughlin, Athletes

Greatly Benefit from Participation in Sports at the College and

Secondary Level, BECKER FRIEDMAN INSTITUTE FOR ECONOMICS

WORKING PAPER NO 2021-86, p. 5 (July 2021).18

     The district court erred in concluding that Factors 2 and 5 are

“neutral.” They point away from employment.

     3.    IT CONFUSED THE CONCEDED FACTOR OF WHETHER
           STUDENT ATHLETES DISPLACE REGULAR EMPLOYEES
           WITH OTHER FACTORS, ERRONEOUSLY CONCLUDING
           THE FACTOR POINTS TOWARD EMPLOYMENT
           WHEN IT ACTUALLY POINTS AWAY.

     Glatt Factor 6 asks whether student intern work “complements,

rather than displaces, the work of paid employees.” The district court

agreed the Students “do not contend that their participation in




     18https://bfi.uchicago.edu/wp-content/uploads/2021
/07/BFI_WP_2021-86.pdf

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interscholastic athletics displaces any paid employees.” (1 AA 31.)

Nevertheless, it found that Factor 6 “weigh[s] in favor of finding that

[the Students] are employees.” (Id.) It reached this finding by confusing

Factor 6 with other factors, compounding the errors it made in applying

others, especially Factors 2 and 5 (pertaining to the broader educational

value of the internship).

     Factor 6 points away from an employment relationship. Colleges

and universities do not operate professional sports franchises, so

student-athletes do not perform work that institutions would otherwise

pay someone to perform. The Students attempt to ‘plead around’ this

issue by alleging that “Student Athlete performance is integral to the

billion dollar Big Business of NCAA sports. . . .” (2 AA 97 [¶ 113].)

While it is tautologically true that athletes are integral to sport, the

Students do not—and, consistent with FED. R. CIV. PROC. 11, cannot—

allege that they replace professional athletes paid to play for schools

when student athletes are not available.

     The district court erred by mixing and matching factors, agreeing

that the Students concede this factor, but drawing a contrary conclusion

by pointing to other factors. It concluded Factor 6 “weigh[s] in favor of a


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finding that [the Students] are the employees” because “the Complaint

alleges that they gain no educational benefits from being student

athletes” (Factors 2 and 5), and “NCAA sports are not tied to the

student's formal education program by integrated coursework” (Factor

3). (1 AA 30-31 [quoting 2 AA 81 (¶ 76)].) Elsewhere in its ruling, the

district court found Factors 2 and 5 “neutral.” (1 AA 30.) Citing the

same allegations to support the conclusion that Factor 6 points toward

employment is simply circular reasoning. And however Factors 2, 3 and

5 point, they are not Factor 6, which points one way on the allegations

made by the Students: away from employment.

     4.    FIVE OF SEVEN FACTORS—INCLUDING THE “CRUCIAL”
           ONES—POINT AWAY FROM EMPLOYMENT FOR
           STUDENT ATHLETES.

     The district court correctly found that Factors 3 (“tied to the

intern’s formal education program”) and 4 (“corresponding to the

academic calendar”) point towards employment. (1 AA 30-31.) The

arguably imperfect correspondence between some athletic seasons and

the academic calendar calls for additional academic support for some

student athletes. The Students concede this support is provided. (2 AA

86-87 [¶ 93], 96-97 [¶¶ 110-11] [time devoted to sports is tracked,


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reported and managed to avoid conflicts with academics]; 2 AA 94-96

[¶¶ 105-09] [Villanova provides dedicated academic support for student-

athletes that provides, among other services, tutoring].) So while

Factors 3 and 4 point toward employment, they do so only modestly.

     Shorn of the district court’s application errors, the clear weight of

the Glatt factors point away from finding an employment relationship:




The district court should not have applied Glatt at all. But when it did,

it should have concluded that the Students fail plausibly to allege an

employment relationship.

     The Ninth Circuit’s decision in Benjamin shows why Berger would

still have found student athletes do not state a claim under the FLSA

even had it applied Glatt.


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     Benjamin involved cosmetology students. The Ninth Circuit

recognized that while it had not yet addressed vocational students or

interns, it had held in various other contexts that the absence of a

“bargained-for compensation relationship” was fatal to a claim of

employment. Benjamin, 877 F.3d at 1145. After assessing the Glatt

test, which the Ninth Circuit found most appropriately applied to the

context of student employment, and the alternative Department of

Labor internship test, the court concluded that under both tests

cosmetology students were not employees. Id. at 1148. Among other

reasons, the court concluded that the “[s]tudents did not displace

regular employees,” were “not entitled to a job at the end of their

clinical experience,” and “understood they would not receive

compensation.” Id. These militate against finding student athletes

employees under Glatt.

     Berger recognized that the absence of what Benjamin called a

“bargained-for compensation relationship” (Benjamin, 877 F.3d at

1145), is fatal to the claims asserted there (and here): “Although we do

not doubt that student-athletes spend a tremendous amount of time

playing for their respective schools, they do so—and have done so for


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over a hundred years under the NCAA—without any real expectation of

earning an income. Simply put, student-athletic ‘play’ is not ‘work,’ at

least as the term is used in the FLSA.” Berger, 843 F.3d at 293. While

student athletes exert themselves mentally and physically, they do so

for their own reasons, and their own benefit. And their schools—which

are in the business of education, scholarship, and service—offer

athletics as a part of their educational mission, not as an end. See id.

(“Student participation in collegiate athletics is entirely voluntary.

Moreover, the long tradition of amateurism in college sports, by

definition, shows that student-athletes—like all amateur athletes—

participate in their sports for reasons wholly unrelated to immediate

compensation.”).

     Rather than representing an isolated exception to the FLSA,

Berger draws on the central tenets of FLSA jurisprudence to conclude

that student-athletes are not, as a matter of law, ipso facto employees of

the schools they represent on the playing field. Applying Glatt does not

change that conclusion.




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                               E.
        THE DEPARTMENT OF LABOR’S LONGSTANDING VIEW THAT
          STUDENT-ATHLETES ARE NOT EMPLOYEES NOT ONLY
            ACCORDS WITH THE CASE LAW—IT PROVIDES A
           COMPLETE STATUTORY DEFENSE TO THIS ACTION.

      The Department of Labor has for decades concluded that student

athletes are not employees under the FLSA solely because they play

sport. Not only is its interpretation entitled to deference under

Skidmore v. Swift & Co., 323 U.S. 134 (1944) (see note 24, infra), in § 10

of the Portal-to-Portal Act of 1947 Congress wrote into the FLSA an

express statutory defense to liability based on the DOL’s interpretation.

Even were the district court’s skepticism about the continuing viability

of Berger correct, it was still obliged to dismiss this action. On this

ground too it erred in declining to do so.

      “No employer shall be subject to any liability or punishment”

under the FLSA if it relies “on any written administrative . . .

interpretation, of the agency” even if the interpretation “is determined

by judicial authority to be invalid . . . .” 29 U.S.C. § 259(a). See also,

Encino Motorcars, LLC v. Navarro, 138 S.Ct. 1134, 1147 (2018) (defense

applies to “superseded agency guidance”); Perez v. Mortgage Bankers

Ass’n, 575 U.S. 92, 106 (2015) (defense applies even when agency


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changes position on an issue). The DOL FIELD OPERATIONS HANDBOOK is

one such “interpretation.” The FLSA specifies that “[t]he agency

referred to in subsection (a) shall be[,] . . . in the case the case of the

[FLSA] . . . the Administrator of the Wage and Hour Division of the

Department of Labor.” 29 U.S.C. § 259(b)(1). The FOH is published by

the Wage and Hour Division to “provide[ Department] investigators and

staff with interpretations of statutory provisions … and general

administrative guidance” Berger , 843 F.3d at 292.

      The FOH agrees with Berger and Dawson that student athletes

fall outside the statute’s reach.19 It states that “[u]niversity or college

students who participate in activities generally recognized as extra-

curricular are generally not considered to be employees within the

meaning of the Act.” FOH § 10b24(a). FOH § 10b03(e) specifies that

student athletics is one such “extra-curricular”:

            “As part of their overall educational program,
            public or private schools and institutions of
            higher learning may permit or require students
            to engage in activities in connection with
            dramatics, student publications, glee clubs,
            bands, choirs, debating teams, radio stations,
            intramural and interscholastic athletics and

      Since FOH §§ 10b03(e) and 10b24(a) pre-date Berger and
      19

Dawson, it is more accurate to say that they agree with it.
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            other similar endeavors. Activities of students in
            such programs, conducted primarily for the
            benefit of the participants as a part of the
            educational opportunities provided to the
            students by the school or institution, are not work
            of the kind contemplated by [the FLSA] and do
            not result in an employer-employee relationship
            between the student and the school or
            institution.” (Emphasis added).

These provisions leave no doubt about the DOL’s view that participants

in “interscholastic athletics” are not “employees” within the meaning of

the FLSA.

     Although the DOL was well aware—like the rest of the country—

that colleges and universities do not pay student athletes wages for

playing sport, it has never initiated enforcement proceedings against

the NCAA or any schools for FLSA violations against student athletes

as such. This is significant because, as the Supreme Court has

explained, “while it may be ‘possible for an entire industry to be in

violation of the [FLSA] for a long time without the Labor Department

noticing,’ the ‘more plausible hypothesis’ is that the Department did not

think the industry’s practice was unlawful.” Christopher v. SmithKline

Beecham Corp., 567 U.S. 142, 158 (2012) (alteration in original)




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(quoting Dong Yi v. Sterling Collision Centers, Inc., 480 F.3d 505, 510–

511 [7th Cir. 2007]).

     “The test under section 259 is an objective one.” Hultgren v. Cty.

of Lancaster, Neb., 913 F.2d 498, 507 (8th Cir. 1990). To meet it, “an

employer must ‘show it acted in (1) good faith, (2) conformity with, and

(3) reliance on the DOL’s regulations. . . .’” Alvarez v. IBP, Inc.,

339 F.3d 894, 907 (9th Cir. 2003) (quoting Frank v. McQuigg, 950 F.2d

590, 598 [9th Cir.1991].) Accord, Hultgren, 913 F.2d at 507; Equal

Employment Opportunity Comm'n v. Home Ins. Co., 672 F.2d 252, 263

(2d Cir. 1982). “The good faith requirement contains both subjective

and objective components.” Perry v. Randstad Gen’l Partner (US) LLC,

876 F.3d 191, 214 (6th Cir. 2017). Subjectively, good faith requires

“honesty of intention and no knowledge of circumstances which ought to

put him upon inquiry.” Id. (quoting Swigart v. Fifth Third Bank, 870 F.

Supp. 2d 500, 510 [S.D. Ohio 2012]). Objectively, “[t]he employer must

show that it ‘acted as a reasonably prudent man [sic.] would have acted

under the same or similar circumstances.’” Id. Accord Alvarez, 339 F.3d

at 907.




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     The NCAA and the Schools meet this test. Objective good faith

and conformity are demonstrated not only by 65 years of unanimity

among state and federal courts that student-athletes are not ipso facto

“employees” of their schools (see n.11, supra), but also because the

“revered tradition of amateurism” in college sports (Board of Regents,

468 U.S. at 120) conforms with the plain language in FOH § 10b03(e):

“interscholastic athletics . . . [is] not work of the kind contemplated by

[the FLSA] and do not result in an employer-employee relationship

between the student and the school or institution.” Subjective good

faith and reliance are demonstrated by the NCAA and Schools relying

on the FOH to defend not paying student athletes in litigation pending

throughout the limitations period on the Students’ claims.20 “[C]ourts

may take judicial notice of filings or developments in related

proceedings.” Werner v. Werner, 267 F.3d 288, 295 (3d Cir. 2001). The

district court should have done so and given them their proper weight.



     20 See, e.g., Berger, 2016 WL 3438089, *40-50 (7th Cir. June 14,
2016) (Appellee’s Brief); Berger, 2015 WL 3811730 (S.D. Ind. April 30,
2015) (Motion to Dismiss); Dawson, 2017 WL 5632769, *22-26 (9th Cir.
Nov. 20, 2017) (Appellee’s Brief); Dawson, 2017 WL 2492229 (N.D. Cal.
Jan. 27, 2017) (Motion to Dismiss); Livers, 2017 WL 8232469 (E.D. Pa.
Dec. 28, 2017) (Motion to Dismiss).

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     Instead, the district court rejected the NCAA’s and the Schools’

§ 259 defense because “there is nothing in the record . . . upon which we

could determine whether the [Attended Schools] failed to pay minimum

wages to their student athletes in reliance on [the] FOH.” (1 AA 17.) It

dismissed the indisputable record of the NCAA’s and Schools’ stated

reliance on the FOH going back to at least 2016 because “it does not

establish that they relied on [the FOH] when they made their

decisions.” (1 AA 17 n.8 [emphasis added].) The district court

misapplied § 259’s reliance requirement.

     The district court assumed that the NCAA and Schools may

invoke § 259 only if they relied on the FOH when the Schools first

fielded teams of amateur student athletes. For many of the Schools,

that happened before the FLSA was enacted in 1938,21 making it

impossible to ever satisfy the requirement as the district court applied

it. No decision construes § 259 to create this sort of ‘Catch-22.’




     21  See, e.g., Carnegie Foundation for the Advancement of
Teaching, AMERICAN COLLEGE ATHLETICS 83, 85, 100, 118, 264 (1929)
(http://archive.carnegiefoundation.org/publications/pdfs/elibrary/Americ
an_College_Athletics.pdf) (referencing intercollegiate sport at Cornell,
Fordham and Lafayette College).

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      To the contrary, § 259 contains important textual clues that

Congress intended to apply § 259’s requirements to the claim itself, not

the policy which gives rise to the claim. Section 259 expressly applies to

“any action or proceeding based on any act or omission on or after May

14, 1947.” It insulates an employer from liability if it “proves that the

act or omission complained of was in . . . reliance on” the FOH. With a

longstanding policy, the “act or omission complained of” or on which an

“action or proceeding [is] based” is not the creation of a policy in the

distant past. It is the application of the policy to a plaintiff within the

limitations period. An action cannot be “based on” an “act or omission”

outside the limitation period, because the action would be time-barred.

Cf. Palardy v. Hornerm, 711 F.Supp. 667, 673 (D. Mass. 1989) (applying

§ 259 requirements to the limitations period of the claim).

      For example, Mr. Willebeek-Lemair’s claim against Cornell is

based on its ‘omission’ to pay him when he played soccer in 2017; not

when Cornell fielded teams of unpaid students in intercollegiate

athletic events in the late Nineteenth Century.22 Section 259 looks to



      22See https://cornellbigred.com/sports/2007/7/11/History.aspx
(history of Cornell athletics).

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whether Cornell continued its policy of not paying student athletes in

reliance on the FOH when Mr. Willebeek-Lemair played soccer there.

     Accordingly, an employer “must establish” that “its policies . . .

were promulgated or continued in reliance” on an agency’s

interpretation to make out a § 259 defense. Figas v. Horsehead Corp.,

No. CIV. A. 06-1344, 2008 WL 4170043, at *21 (W.D. Pa., Sept. 3, 2008)

(emphasis added). Where—as here—there is no contrary DOL guidance,

reliance on later interpretations in continuing a policy satisfies § 259.

See, e.g., Henry v. Quicken Loans Inc., No. 2:04-CV-40346, 2009 WL

3270768, at *15 (E.D. Mich., July 16, 2009), report and recommendation

adopted, 2009 WL 3199788 (E.D. Mich., Sept. 30, 2009); Quinn v. New

York State Electric and Gas Corp., 621 F. Supp. 1086, 1091 (N.D. N.Y.

1985).23



     23 District courts have declined to find reliance on later changes in
DOL guidance when the employer’s policy was contrary to
contemporary guidance when the policy was first formed. See, e.g.,
Lewis v. Huntington Nat’l Bank, 838 F.Supp.2d 703, 717 (S.D. Ohio
2012); In re Cargill Meat Solutions Wage and Hour Litig., 632
F.Supp.2d 368, 392 (M.D. Pa. 2008); Figas, 2008 WL 4170043, at *22.
The reasoning in these cases is that since the policy was established in
defiance of DOL guidance, the employer could not have relied on later
guidance approving the policy. That is not the case here.


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     The district court thus erred when it disregarded the Schools

“reliance on [the] FOH . . . in defending lawsuits alleging they violated

the FLSA.” (1 AA 18 n.8.) The Schools’ position in litigation predating

the limitations period applicable to their claim shows requisite reliance.

The Students sued in November 2019. (ED Pa. ECF 1.) Giving them the

benefit of the extension for “willful” violations provided in 29 U.S.C.

§ 255(a), the action is “based on” “act[s] or omission[s]” on and after

November 2016. By then, the NCAA and Schools had already filed

briefs in Berger asserting reliance on the FOH. And they continued to

do so on other cases in subsequent years. Throughout the entire

limitations period, the NCAA and Schools have publicly pointed out

their reliance on the FOH. See n.20, supra.

     The unequivocal language in FOH § 10b03(e) that “interscholastic

athletics . . . [is] not work of the kind contemplated by [the FLSA] and

do[es] not result in an employer-employee relationship between the

student and the school or institution,” establishes a complete statutory

defense24 to the Students’ claims. Before the beginning of the



     24Even if 29 U.S.C. § 259(a) did not provide a statutory defense
based on the FOH, under Skidmore courts should “defer to an agency’s

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limitations period on the Students’ claims, the Schools publicly stated

their reliance on the FOH, and the Seventh Circuit held that their

reliance was reasonable. Berger, 843 F.2d at 292-94. Even were

Berger’s interpretation of the FLSA reversed, the FOH would still

provide a complete statutory defense. As long as the DOL leaves

pertinent sections of the FOH unchanged, neither the Schools, nor the

NCAA, are liable under the FLSA as a matter of law.




interpretation of its regulations . . . unless the interpretation is plainly
erroneous or inconsistent with the regulations or there is any other
reason to suspect that the interpretation does not reflect the agency’s
fair and considered judgment on the matter in question.” AT & T Corp.
v. Core Commc’ns, Inc., 806 F.3d 715, 725 (3d Cir. 2015) (citations
omitted).
      This Circuit affords Skidmore deference to the FOH. See, e.g.,
Friedrich, et al. v. U.S. Comput. Services, 974 F.2d 409, 417-18 (3rd Cir.
1992) (consulting the FOH for interpretative guidance) (superseded by
statute as stated in McMaster v. Eastern Armored Services, Inc., 780
F.3d 167, 171 [3rd Cir. 2015]). So do the First, Second, Fifth, Seventh,
Eighth and Ninth. See, e.g., Marsh v. J. Alexander's LLC, 905 F.3d 610,
618 (9th Cir. 2018); Hill v. Delaware North Cos. Sportservice, Inc., 838
F.3d 281, 295 (2d Cir. 2016); Berger, 843 F.3d at 293 (“[w]e find the
FOH’s interpretation of the student-athlete experience to be
persuasive.”); Newman v. Advanced Tech. Innovation Corp., 749 F.3d
33, 37 (1st Cir. 2014); Fast v. Applebee's Int'l, Inc. , 638 F.3d 872, 878-
79 (8th Cir. 2011); Gagnon v. United Technisource, Inc., 607 F.3d 1036,
1041 n.6 (5th Cir. 2010).

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                              F.
   THE STUDENTS SEEK TO REWRITE THE FLSA TO SUIT THEIR POLICY
  PREFERENCES. THAT ARGUMENT IS FOR CONGRESS, NOT THE COURTS.

     The Students’ argument boils down to a plea they deserve to share

in the revenues generated by (a few) college sports. That argument

should be directed to Congress, not the courts. That a few (but not most)

schools generate television revenues from a few (but not most) sports

has nothing to do with the legal question of whether student athletes

are ipso facto “employees” within the meaning of the FLSA.

     For good reason: The FLSA applies to “commercial activities

conducted by . . . nonprofit organizations” just as it does to for-profit

businesses. Alamo, 471 U.S. at 296-297. What matters is not whether

the activity generates any revenue or profit, but whether its economic

reality “contemplate[s] compensation.” Walling, 330 U.S. at 152; see

also Alamo, 471 U.S. at 301; Ortega v. Denver Institute LLC, No. 14-cv-

01351-MEH, 2015 WL 4576976, at *12-13 (D. Colo. July 30, 2015)

(discussing decisions declining to treat cosmetology students as

employees notwithstanding that cosmetology schools earned profits

from the trainees’ labor); Valladares v. Insomniac, Inc., No. EDCV 14-

00706-VAP (DTBx), 2015 WL 12656267, at *10 (C.D. Cal. Jan. 29, 2015)


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(“Plaintiff argues it is inequitable to allow [her employer] to use [an

FLSA] exemption when its ‘revenue is in the millions of dollars.’ If

Congress agrees with Plaintiff, it may amend the FLSA. Until then, a

defendant’s revenue is irrelevant to whether the [statutory] exemption

applies.”) (citation and paragraph break omitted).

     The Students’ argument thus has nothing to do with what the

FLSA requires, only what they think it should require. That is not a

sound basis for courts to depart from the statute’s plain meaning. As

the Supreme Court pointed out in Sandoz Inc. v. Amgen Inc., 137 S.Ct.

1664 (2017), even if this Circuit “were persuaded” the Students “had the

better of the policy arguments, those arguments could not overcome the

statute’s plain language, which is our ‘primary guide’ to Congress’

preferred policy.” Id. at 1678.

                               IV.
  THE DISTRICT COURT ERRED WHEN IT HELD THE STUDENTS STATED A
 CLAIM UNDER STATE LAW. THEIR STATE LAW CLAIMS FAIL AS A MATTER
              OF LAW ALONG WITH THEIR FLSA CLAIM.

     The FLSA includes a “savings clause” that permits states and

municipalities to “establish[] a minimum wage higher,” or “a maximum

work week lower,” than that set by the FLSA. 29 U.S.C. § 218(a). The

“savings clause” “undermines any suggestion that Congress intended to

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occupy the field of wage and hour regulation.” Knepper v. Rite Aid

Corp., 675 F.3d 249, 262 (3d Cir. 2012). Even so, the Student’s

Pennsylvania, New York and Connecticut statutory and common-law

claims fail as a matter of law once this Circuit holds that the Students

do not state a claim under the FLSA. Accordingly, it should reverse and

remand with instructions that the district court dismiss this action in

its entirety.

      First, the Students’ state statutory wage claims are all analyzed

under the same standards as their FLSA claim. If they do not state a

claim under the FLSA, they state no claim under state wage statutes.

See, e.g., Razak v. Uber Technologies, Inc., 951 F.3d 137, 142 (3d Cir.

2020) (“Pennsylvania state courts have looked to federal law regarding

the FLSA for guidance in applying the PMWA”); Verma v. 3001 Castor,

Inc., 937 F.3d 221, 229 (3d Cir. 2019) (same); Sethi v. Narod, 974 F.

Supp. 2d 162, 188 (E.D.N.Y. 2013) (courts in the Second Circuit “have

interpreted the definition of ‘employer’ under the New York Labor Law

coextensively with the definition used by the FLSA.”) (internal citations

and quotations omitted); Dixon v. Zabka, No. 3:11-CV-982 MPS, 2014

WL 6084351, at *17 (D. Conn. Nov. 13, 2014) (federal precedent


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interpreting the FLSA applies to parallel provisions defining

“employee,” “employer,” and “employ” under the Connecticut Minimum

Wage Act) (citations omitted).

     Second, this Circuit has “noted approvingly” the Fourth Circuit’s

decision in Anderson v. Sara Lee Corp., 508 F.3d 181 (4th Cir. 2007),

where the Fourth “sensibly declined to allow the plaintiffs to use state

non-labor laws to enforce the substantive provisions of the FLSA.”

Knepper, 675 F.3d at 263 (“sensibly declined”); Formica v. US

Environmental Inc., No. CV 18-459, 2018 WL 3374764, at *2 (E.D. Pa.,

July 11, 2018) (“noted approvingly”). See also Aldridge v. Mississippi

Dept. of Corrections, 990 F.3d 868, 871 (5th Cir. 2021) (“[D]oes the

[FLSA] preempt redundant state law tort claims . . . ? We join the

Fourth Circuit in answering ‘yes.’”); Torres v. Vitale, 954 F.3d 866, 875

(6th Cir. 2020) (RICO claim seeking unpaid minimum overtime wages

preempted by FLSA; following Anderson).25 Under Anderson, the




     25 Following Knepper, district courts in this Circuit have followed
the rule in Anderson. See, e.g., Formica, 2018 WL 3374764; Szczachor v.
All Granite & Marble Corp., No. CIV.A. 13-395 SRC, 2014 WL 7365780,
at *2 (D.N.J., Dec. 19, 2014); Gutwirth v. Woodford Cedar Run Wildlife
Refuge, 38 F.Supp.3d 485, 491 (D.N.J. 2014); Kronick v. bebe Stores,

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Student’s unjust enrichment remedies for an alleged violation of the

FLSA are subject to conflict preemption notwithstanding the FLSA’s

savings clause.

     Anderson involved wage claims under state contract, tort and

unfair trade practices laws for time spent donning and doffing sanitary

uniforms by workers at an industrial bakery. Anderson, 508 F.3d at

182-83. The Fourth Circuit held that plaintiffs’ contract and tort claims

(negligence and fraud) were conflict-preempted by the FLSA. Id. at 191-

94. While “[t]here is a strong presumption” against preemption,

especially given the FLSA’s “savings clause,” the Anderson plaintiffs

“rely on the FLSA for their rights, and they invoke state law only as a

source of remedies.” Id. at 193. Doing so “‘stands as an obstacle to the

accomplishment of the full purposes and objectives’ of federal law”

because, first, the FLSA’s enforcement scheme is “unusually elaborate”

and, second, “the FLSA does not explicitly authorize states to create

alternative remedies for FLSA violations.” Id. at 193-93.




Inc., 2008 WL 4509610, at *1 (D.N.J. Sept. 29, 2008); Moeck v. Gray
Supply Corp., 2006 WL 42368, at *2 (D.N.J. Jan. 5, 2006).


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      “Crucially,” the Fourth Circuit noted, the contract and tort claims

at issue “all depend on establishing [defendant] violated the FLSA,”

pointing to allegations in their complaint that defendant either

“carelessly” or “willfully failed and refused to pay.” Id. at 193 (quoting

operative complaint). The Students’ unjust enrichment claims also

depend on an FLSA violation. They incorporate their FLSA allegations

by reference and allege that the NCAA and the Schools, “[c]ontrary to

all good faith and fair dealing . . . induced [the Students] . . . to perform

work while failing to properly compensate them for all hours worked as

required by law.” (2 AA 178, 181-82, 184 [¶¶ 382, 385, 403, 406, 416,

419] [emphasis added].) No less than the claims the Fourth Circuit

“sensibly declined” to permit, the Students’ state-law unjust enrichment

claims seek to graft a state-common-law equitable remedy onto FLSA

claims and are thus preempted. Knepper, 675 F.3d at 263.




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                            CONCLUSION
     Appellants respectfully request this Circuit reverse the district

court and remand with instructions to dismiss this action in its entirety.



Dated: May 31, 2021          CONSTANGY, BROOKS, SMITH &
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     2.    This brief complies with the type-volume limitation of FED.

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